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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

Eugene K. Mallard,

                              Plaintiff,

v.                                                           Case No. 5:22-cv-04053-EFM-KGG

Laura Howard, et al.,

                              Defendants.


                                      PRETRIAL ORDER

       On June 28, 2023, U.S. Magistrate Judge Kenneth G. Gale conducted a pretrial conference

in this case by phone. Plaintiff Eugene K. Mallard appeared pro se. Defendants Laura Howard

and Gabriel Rop appeared through counsel Matthew L. Shoger.

       This pretrial order supersedes all pleadings and controls the subsequent course of this case.

It will not be modified except by consent of the parties and the Court’s approval, or by order of

the Court to prevent manifest injustice. See Fed. R. Civ. P. 16(d) & (e); D. Kan. Rule 16.2(a).

1.     PRELIMINARY MATTERS.

       a.      Subject-Matter Jurisdiction. Subject-matter jurisdiction is invoked by Plaintiff

under 28 U.S.C. § 1343(3) and 42 U.S.C. § 1983, and is disputed by Defendants due to Eleventh

Amendment immunity, lack of standing, and mootness.

       b.      Personal Jurisdiction. The Court’s personal jurisdiction over the parties is not

disputed.

       c.      Venue. Venue in this court is not disputed.
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       d.        Governing Law. Subject to the Court’s determination of the law that applies to

the case, the parties believe and agree that the substantive issues in this case are governed by the

following law:

              i.        42 U.S.C. § 1983

             ii.        U.S. Constitution

                                A.   First Amendment

                                B.   Eighth Amendment

                                C.   Fourteenth Amendment

            iii.        Religious Freedom Restoration Act (RFRA) (42 U.S.C. § 2000bb et seq.)

            iv.         Religious Land Use and Institutionalized Persons Act (RLUIPA) (42 U.S.C.

                        § 2000cc et seq.)

             v.         Kansas Preservation of Religious Freedom Act (KPRFA) (K.S.A. 60-5301 et

                        seq.)

2.     STIPULATIONS.

       a.        The following facts are stipulated:

                 i.        Plaintiff Eugene Keith Mallard is a citizen of Kansas who presently resides
                           at 1301 K-264 Hwy, Larned, Kansas 67550.

                 ii.       Defendant Gabriel Rop is a citizen of Kansas and is employed as
                           Administrative Program Director for the Kansas Sexual Predator Treatment
                           Program.

                 iii.      Defendant Laura Howard is a citizen of Kansas and is employed as
                           Secretary for the Kansas Department for Aging and Disability Services
                           (KDADS).

                 iv.       Mallard has not begun other lawsuits in state or federal court dealing with
                           the same facts involved in this action or otherwise relating to conditions of
                           confinement.




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              v.      Mallard has not previously sought informal or formal relief from the
                      appropriate administrative officials regarding the acts complained of in his
                      Complaint.

              vi.     At the time Plaintiff filed this petition he was only allowed to smudge once
                      per week during the Pipe and Drum Ceremony. Now he is allowed to
                      smudge once per day.

              vii.    Smudging with fire and smoking have been prohibited at times in the past
                      during county-wide burn bans.

              viii.   Currently the sweat lodge practice is allowed once a month for four hours.

              ix.     Healing and passing ceremonies are currently allowed.

       b.     The parties have not stipulated to the admissibility of any exhibits for purposes of

summary judgment or trial.

3.     FACTUAL CONTENTIONS.

       a.     Plaintiff’s Factual Contentions.

              1. I am only allowed to smudge once per day. Traditional practice is twice per
                 day. Gabriel Rop has decided to set this limit.

              2. Smudging is a practice whereby one connects with Grandfather, the spirit of the
                 Native American way. It is done by burning herbs (Sage, Cedar, Sweet grass)
                 in a bowl and using a feather fan wafting it over the person or object in a
                 clockwise pattern while a message is said to Grandfather.

              3. For a Christian the equivalent to smudging is praying.

              4. I learned the manner and method of smudging thirteen years ago from a member
                 of the Red Wolf Society that carries a Bureau of Indian Affairs card.

              5. When I began thirteen years ago, there was a scheduled time each day for the
                 smudge to occur as it had to be done outside. Over time they eradicated this
                 and denied it all together.

              6. I have sincerely held the belief that a daily smudge was necessary in order to
                 purify myself and stay connected with Grandfather. Without this daily practice,
                 I feel lost and without my spiritual being.

              7. The sweat lodge ceremony is one of the major cornerstones of the Native
                 American religion.

              8. The sweat lodge requires a special lodge and rocks, wood, fire and water.

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    9. The sweat ceremony should be held no less than once per week.

    10. The ceremony is akin to returning to the womb of mother earth so that one is
        purified, gains strength, guidance, physical, emotional, mental and spiritual
        healing.

    11. For a Christian the equivalent to sweat lodge is going to Church, Bible study or
        any other gathering focused on God or the Bible.

    12. Currently the sweat lodge practice is only once a month and only partially given
        to me as I cannot complete the ceremony due to the limited time of 4 hours that
        is given.

    13. I learned the manner and method of the sweat ceremony thirteen years ago from
        a member of the Red Wolf Society that carries a Bureau of Indian Affairs card.

    14. Gabriel Rop and Laura Howard state that I cannot sweat at any time when a
        burn ban is in place by Pawnee County.

    15. At all times while doing the sweat lodge practice in thirteen years I have never
        been careless and no unintended fire has occurred.

    16. When I began thirteen years ago there was a scheduled time once a month for
        the sweat lodge ceremony to occur as it has to be done outside.

    17. Over time they eradicated this and denied it all together. Recently they have
        given me back a partial sweat of four hours which Gabriel Rop and Laura
        Howard continue to enforce to this day.

    18. I have sincerely held the belief that a weekly sweat ceremony was necessary in
        order to purify myself and stay connected with Grandfather.

    19. Without the sweat lodge I feel lost and without my spiritual being.

    20. The feast is a time to gather together and celebrate the changing of the seasons,
        such as winter and summer solstice, and the equinox of spring and fall.

    21. The feast traditionally includes traditional fry bread, corn pemmican and other
        foods natural to Native Americans.

    22. The food should be prepared by a practicing Native American on grounds and
        blessed as it is prepared.

    23. For a Christian, the equivalent to feasts is a holiday meal such as Christmas and
        Easter, or just a gathering with a meal.




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    24. Christian, Muslim, persons are allowed a special meal or feast as a tenet of their
        religion. Jewish people are allowed Koshers meals as part of their religious
        faith. Gabriel Rop and Laura Howard ensured that this occurs.

    25. I learned the manner and method of the feasts thirteen years ago from a member
        of the Red Wolf Society that carries a Bureau of Indian Affairs card.

    26. At the time the group was able to prepare our own food the group provided most
        of the food items and prepared them in a traditional manner over an open flame.

    27. When we were denied preparing or ordering our own food the facility would
        provide all the food items and prepare them.

    28. I have sincerely held the belief that a feast was necessary in order to gather and
        tell stories, to celebrate a change in time or earth and stay connected with
        Grandfather.

    29. Without the feast I feel lost and without my spiritual being.

    30. The Sacred Pipe is the cornerstone of the Native American spirituality.

    31. The drum represents the heart beat of the Native American people.

    32. The smoke from the Sacred Pipe carries our prayers to Grandfather.

    33. At a pipe and drum ceremony I smoke the pipe and play the drum and sing
        songs to the creator.

    34. The Sacred Pipe should never be handled by anyone that is not Native
        American, except by the chaplain to visually inspect it.

    35. For a Christian, the equivalent to Pipe and Drum is going to Church with their
        Bible, Communion supplies, Choir, and spiritual leader.

    36. Christian, Muslim, or Jewish persons, are able to go to Church, Temple, or
        Mosque and praise, sing songs, and pray. Gabriel Rop, and Laura Howard
        ensure this occurs.

    37. I learned the manner and method of the Pipe and Drum Ceremony thirteen years
        ago from a member of the Red Wolf Society that carries a Bureau of Indian
        Affairs card.

    38. I have sincerely held the belief that a Pipe and Drum ceremony is a weekly
        gathering that is required to stay connected to Grandfather.

    39. Without the Pipe and Drum ceremony I feel lost and without my spiritual being.




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    40. Gabriel Rop and Laura Howard, deny or cancel Pipe and Drum Ceremony when
        there is a lack of staff, burn ban, or because the staff that was assigned to go out
        did not want to go due to cold or heat, or called in.

    41. The Pow-Wow (Spiritual Gathering) is an annual event of traditional dancing,
        speaking and praying in word, song, and music for all that lives.

    42. The gathering of the people sometimes with outside guests who would be
        dressed in ceremonial clothing symbolizes a renewal of unity in the spirit.

    43. A feast of traditional familiar foods (such as fry bread, corn pemmican, and
        buffalo meat) are a central part of the Pow-Wow.

    44. For a Christian, the equivalent to a Pow-Wow is going to Church with their
        Bible, Communion supplies, Choir, and spiritual leader.

    45. A Christian, Muslim, Jewish, Catholic, or Jehovah’s Witnesses can go to
        Church, Temple, or Mosque and praise and sing songs and pray and have a
        religious meal, or outside visitors. Gabriel Rop, and Laura Howard ensure this
        occurs.

    46. I learned the manner and method of the Pow-Wow thirteen years ago from a
        member of the Red Wolf Society that carries a Bureau of Indian Affairs card.

    47. I have sincerely held the belief that a Pow-Wow is an annual gathering that is
        required to stay connected to Grandfather.

    48. Without the Pow-Wow, I feel lost and without my spiritual being.

    49. Gabriel Rop and Laura Howard, deny all Pow-wows and give no reason for the
        denial.

    50. The Native American spiritual leaders are denied the same courtesy and access
        to confined persons as is afforded to ordained clergy.

    51. For a Christian, the equivalent to a Spiritual leader, is a pastor, priest, rabbi or
        spiritual leader for the Muslim faith.

    52. A Christian, Muslim, or Jewish, Jehovah’s Witnesses or Catholic persons can
        have a spiritual leader to conduct worship services. Gabriel Rop, and Laura
        Howard ensure this occurs.

    53. I learned the manner and method of Native American Spiritual leaders thirteen
        years ago from a member of the Red Wolf Society that carries a Bureau of
        Indian Affairs card.

    54. I have sincerely held the belief that a Native American Spiritual leader is
        required to stay connected to Grandfather and to learn the ways of the ancestors.

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    55. Without a Spiritual leader, I feel lost and without my spiritual being.

    56. Gabriel Rop and Laura Howard continue to deny a Native American Spiritual
        leader and no reason has been given for the denial.

    57. The Native American passing and healing ceremonies should be done as soon
        as I learn of a sickness or death, normally within 24 hours of learning of the
        sickness or death.

    58. Mourning the death of a relative or friend may include one or more of the
        following, (cutting of the hair, fasting, smudging, displaying ashes on the face,
        and wearing black headwear) and may last up to one year.

    59. For a Christian the equivalent of a healing or passing ceremony is going to a
        doctor or hospital and going to a place of worship for a funeral.

    60. A Christian, Muslim, or Jewish person can have a memorial service on grounds
        or go to a memorial service outside the facility. Gabriel Rop, and Laura Howard
        ensure this occurs.

    61. I have sincerely held the belief that a Native American healing or passing
        ceremony is required to stay connected to Grandfather.

    62. Without the healing and passing ceremonies I feel lost and without my spiritual
        being.

    63. Until recently Healing and Passing Ceremonies have been denied due to Covid,
        burn-ban or lack of staff.

    64. Concerning the Independent Native American callout: (1) One member has
        never been in the Red Wolf or Gray Wolf callout; (2) I came from the Red Wolf
        callout; (3) Two members were a part of the Red Wolf and Gray Wolf callout;
        and (4) There are a total of seven members.

    65. The Native American callouts use a fire once per week and use what the facility
        calls dangerous tools once per week or more for the practice of their religion.

    66. The Native American groups have offered to return to the method whereby they
        pay for the meals required by the religion and have been denied.

    67. The Native American groups have not been allowed to purchase the equipment
        necessary for the safe preparation of traditional meals. For example, a pot for
        the fire, camp grill for the fire, etc.

    68. The Native American groups have members that were trained in the SPTP
        Vocational Training Program for Foodservice. They were qualified and trained


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       in the safe preparation, handling and cooking of food and did so as a part of
       their job. I was one of those.

    69. The Native American groups have individuals that were trained in Foodservice
        in the Department of Corrections and worked as a cook therein.

    70. I have not been required to eat my meal in my room for more than a year, except
        for when I was on seclusion called quarantine by the facility.

    71. There is no mask mandate in place at this time in the facility, nor any social
        distancing requirements.

    72. The facility requires we eat our meals in the day hall and sit up to four persons
        per 36" square table.

    73. Sweat ceremony takes no less than six hours to properly complete. This is done
        in the following stages: (1) Fire building and heating of rocks takes 1.5 to 1.75
        hours; (2) There are four rounds; (3) Round 1 takes 30 minutes; (4) Heat the
        rocks for round two takes 1.0 to 1.5 hours; (5) Round 2 takes thirty minutes; (6)
        Heat the rocks for round 3 takes 1.0 to 1.5 hours; (7) Round 3 takes thirty
        minutes; (8) Heat the rocks for round 4 takes 1.0 to 1.5 hours; (9) Round 4 takes
        thirty minutes; and (10) Clean up and close out takes 1.0 to 1.5 hours.

    74. The Independent Native American callout has not been assigned a separate area
        in which for them to practice their religion.

    75. LSH/SPTP preferentially subsidizes the cost to purchase specific meals at a
        higher rate for the Jewish religion. This includes those that ask for a kosher diet
        and are not practicing a religion.

    76. LSH/SPTP preferentially subsidizes the cost for Ramadan meals and Lamb at
        the close of Ramadan for those of the Muslim faith.

    77. Currently the meals delivered to the unit for daily consumption are not
        prepackaged, they were served from a bulk container off a buffet like line and
        delivered in rubber trays.

    78. The food currently delivered to the unit is a danger to the health and safety of
        Mr. Mallard in that it is never at a safe temperature per the food code.

    79. The food currently delivered to the unit is nutritionally defunct in that it is
        overcooked to where no nutrients are left or it is undercooked to the point it
        cannot be consumed.




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     80. Formal and informal complaints are made to the facility daily concerning the
         danger the food delivered presents. These go unanswered and no changes are
         made. In fact one answer given was by the head of the food service department
         that stated in order to be nutritional the vegetables had to be well overcooked.

b.   Defendants’ Factual Contentions.

     1. Laura Howard is the Secretary of KDADS. She joined the agency in January
        14, 2019.

     2. Defendant Rop has been the administrative program director for the Sexual
        Predator Treatment Program (SPTP) at Larned State Hospital (LSH) since July
        25, 2022.

     3. On September 19, 2008, the State petitioned for Plaintiff’s civil confinement
        under K.S.A. 59-29a01 et seq., the Kansas Sexually Violent Predator Act
        (“KSVPA”). Plaintiff met the legal criteria beyond a reasonable doubt for
        commitment and treatment as a sexually violent predator. Accordingly, the
        Secretary of the Department of Social and Rehabilitation Services placed
        Plaintiff in the Sexual Predator Treatment Program (“SPTP”) at Larned State
        Hospital (“LSH”) in Pawnee County, Kansas, in October, 2009. See Mallard
        v. Bruffett, 394 P.3d 156 (table opinion), 2017 WL 2021164 (Kan. Ct. App.
        May 12, 2017). Plaintiff remains committed pursuant to the KSVPA, as
        amended, and in SPTP in the custody of the Secretary.

     4. KDADS has supervisory authority over LSH, a psychiatric facility. One of the
        programs located on the LSH campus is SPTP. SPTP provides treatment for
        convicted sex offenders who have completed their prison sentences but have
        been determined by the Courts to be violent sexual offenders in need of
        involuntary inpatient treatment.

     5. SPTP has been given two primary missions. First, SPTP provides for the public
        safety to prevent further victimization of others by sexual offenders assigned to
        the program. This requires adequate security and the ability to establish a safe
        environment for staff and residents within the boundaries of the parts of the
        LSH campus dedicated to SPTP. The second mission of SPTP is to provide
        treatment to those residents willing to engage in the work of personal change.
        The ultimate aim of this treatment is to reduce the individual’s risk for re-
        offense to a level, which would allow the return of the individual to society as
        a contributing, productive citizen.

     6. The inpatient SPTP housing is in the Dillon Building, Isaac Ray Building, and
        Jung Building. At all relevant times, Mallard has been a resident in the inpatient
        housing in Dillon at LSH. Dillon is a secure facility in the sense that it is much
        like a jail or prison. Entry to and exit from the buildings are by security-
        monitored, locked entrances. Its grounds are surrounded by fencing and wire.


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        The fencing is separated from surrounding structures and woodlands to prevent
        unobserved access.

     7. Areas in and around Dillon have been dedicated for residents to engage in the
        religious exercise of their choice. For adherents to faiths that conduct
        ceremonies and services outdoors, a fenced and secure area is provided at the
        Northwest corner of Dillon’s grounds. The area has been parceled to provide
        separate plots for worship/ceremonies by adherents of the faith systems of
        Native Americans identified as Gray Wolf, Red Wolf and Independent. Then
        there are also separate plots within the area for adherents to other faith systems.

     8. On or about March 12, 2020, LSH activated an “Pandemic Preparedness Plan”
        to address how to best avoid and manage COVID-19 transmission and infection
        at LSH. The plan has been updated and modified overtime. Among many other
        items, the plan lists and listed restrictions on group activities of LSH visitors,
        staff, patients and SVP residents. The restrictions were and are religion neutral,
        both as to religion generally and as to any particular religion. The scope of the
        restrictions has varied depending upon active COVID-19 cases in Pawnee
        County and surrounding counties, active COVID-19 cases in LSH staff or
        patient/resident. LSH has moved in and out of different phases. However,
        resident have always been permitted to conduct individual religious services
        regardless of the phase.

     9. Overtime COVID-19 restrictions were loosened or retightened to respond to
        infection levels at LSH or within Pawnee County.

     10. In designing the scope and application of restrictions and measures because of
         COVID-19, LSH/SPTP had to account for the fact that (1) patients and
         residents, along with LSH staff, are necessarily confined to relatively small
         areas within LSH’s buildings and (2) many of LSH’s patients and most of the
         SPTP residents have a higher risk of serious complications and even death from
         COVID-19 infection than general populations because of their preexisting
         health conditions and age.

     11. Religious adherents and, in particular Native American religion adherents, were
         in no way singled out or treated differently in comparison to other religions or
         other group activities.

     12. Defendant Howard has not participated in decisions on COVID-19 restrictions
         at LSH.

     13. Native American religious groups are currently permitted to smudge daily, to
         conduct pipe and drum ceremonies weekly, and to conduct healing and passing
         ceremonies.

     14. Due to a lack of moisture or fire hazard conditions, from time to time, the Board
         of County Commissioners of Pawnee County imposed a burn ban for the
         county, which placed restrictions on outdoor burning. LSH previously
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        interpreted the burn bans to prohibit outdoor non-liquid smudging and smoking.
        But outdoor non-liquid smudging and pipe ceremonies have been permitted
        even during a burn ban since September 11, 2022, so long as there is a bucket
        of sand and water at each smudge location and the area’s garden hose is hooked-
        up and attended by a staff member.

     15. In March of 2020, two sweat lodges had been erected in the area described in
         ¶ vii, supra, which were dedicated for the separate use by adherents of the faith
         systems of Native Americans identified as Grey Wolf and Red Wolf. There has
         never been a sweat lodge for the Independents, which is a small group of
         residents that split off from the Grey Wolf group.

     16. Sometime in 2020, the sweat lodges at Dillon deteriorated from exposure to the
         elements to so they had to be removed. In 2023, the willow materials necessary
         for any reconstruction was not available for harvest until late spring.

     17. Sweat lodge ceremonies are either currently permitted or soon will be permitted
         once sweat lodges have been constructed.

     18. SPTP has not denied a Native American spiritual leader from coming in to
         conduct worship services.

     19. Residents currently eat their meals in their rooms. Residents’ meals are
         prepared at the LSH kitchen and served in pre-packaged portions. Before
         LSH’s COVID-19 protocol was in place, residents housed at Dillon generally
         ate their meals in its cafeteria under staff supervision. However, meals have
         not been served to residents at the cafeteria since March of 2020 because the
         cafeteria room is not large enough to accommodate social distancing mandated
         under even the least restrictive phase of the Pandemic Preparedness Plan and
         the required masking is not possible while eating.

     20. Additionally, since March 2020, residents have not been allowed to have
         outdoor group meals/feasts. Generally, the group meals are not permitted
         because the operative phase of the LSH’s COVID protocol prohibits group
         gatherings or, under the applicable phase requirement, the available space
         outdoors for the meal was not sufficient to accommodate the required social
         distancing and masking.

     21. LSH medical professional staff have concluded that meals or feasts that are
         served “family-style,” instead of by separately packaged portions, cannot be
         allowed because of the unacceptable risk, in the jail/prison like setting, of the
         transmission of diseases and infections. Furthermore, LSH and residents are
         not equipped to properly prepare some of the traditional foods (deer, elk,
         buffalo, pemmican and perhaps even fry bread, in the “traditional” manner), so
         that the food is safe for consumption. There are also unacceptable security and
         safety problems from allowing residents to prepare the meals (e.g., access to
         fire and potentially dangerous tools). Finally, LSH/SPTP does not have the

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                   food budget to pay the additional cost for traditional meals, and cannot
                   preferentially subsidize the exercise of religion by paying more for Native
                   American religious meals/feasts than it already pays for residents’ usual daily
                   meals. Thus, LSH/SPTP currently anticipates that religious meals and feasts
                   may be observed in the future when COVID-19 protocols permit. But
                   LSH/SPTP is considering and likely to adopt a policy that the meals must be in
                   separately packaged portions, properly prepared, and the additional cost of the
                   meals/feasts must be borne by resident(s) or outside donor(s), with SPTP’s
                   contribution limited to what it does not pay to offer some usual daily meals on
                   the day of the religious meal/feast.

            22. Nevertheless, there has not been a time where SVP residents could not eat
                religious meals in their room, by themselves, so long as the resident timely
                requested the special food, paid any expense beyond the normal cost of the meal
                that LSH would otherwise provide, and the food preparation met basic hygienic
                and health requirements.

            23. Scheduling issues, staffing issues, and the priority to provide treatment to
                residents limit the amount of time that can be spent on religious activities.

4.   LEGAL CLAIMS AND DEFENSES.

     a.     Plaintiff’s Claims.

     Plaintiff asserts that he is entitled to recover upon the following theories:

            i.        Count I: United States Constitution First Amendment Religious Practice

            ii.       Count II: United States Constitution First Amendment Religious
                      Discrimination

            iii.      Count III: United States Constitution Eighth Amendment

            iv.       Count IV: United States Constitution Fourteenth Amendment

            v.        Count V: 42 U.S.C. § 2000bb et seq. Religious Freedom Restoration Act

            vi.       Count VI: 42 U.S.C. § 2000cc et seq. Religious Exercise In Land Use And
                      By Institutionalized Persons

            vii.      Count VII: K.S.A. § 60-5301 et seq. Kansas Preservation of Religious
                      Freedom Act

     b.     Defendants’ Defenses.

     Defendant asserts the following defenses:

            i.        Eleventh Amendment immunity

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                ii.     Lack of standing

                iii.    Mootness

                iv.     RFRA has been held unconstitutional as applied to the states

                v.      RLUIPA does not support individual capacity claims

                vi.     Failure to exhaust administrative remedies with regard to the KPRFA

                vii.    Qualified immunity

                viii.   Failure to state a claim

                ix.     Lack of personal participation

                x.      Lack of a factual basis for some claims and requested remedies

                xi.     No substantial burden to religious exercise

                xii.    Any substantial burden on sincerely held religious beliefs is justified by

                        compelling government interests

                xiii.   No discriminatory purpose

                xiv.    No conscious or intentional interference with free exercise of religion

                xv.     Any substantial burden on sincerely held religious beliefs is reasonably

                        related to legitimate government interests, and is not an exaggerated

                        response to such objectives

                xvi.    The Court should decline to exercise supplemental jurisdiction over the

                        state law claim

5.      DAMAGES AND NON-MONETARY RELIEF REQUESTED.

        Plaintiff requests declaratory and injunctive relief as set forth below. No monetary
        damages or fees requested.

     1) I request that this Court declare that denial of a Sweat Lodge ceremony violates my rights
        to practice my religion in accords with the dictates of the United States Constitution and
        all laws, Federal and State, of this country.


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2) I request that this Court declare that denial of a Healing and Passing Ceremonies
   ceremony violates my rights to practice my religion in accords with the dictates of the
   United States Constitution and all laws, Federal and State, of this country.

3) I request that this Court declare that denial of a Feast violates my rights to practice my
   religion in accords with the dictates of the United States Constitution and all laws,
   Federal and State, of this country.

4) I request that this Court declare that denial of a daily Smudging ceremony violates my
   rights to practice my religion in accords with the dictates of the United States
   Constitution and all laws, Federal and State, of this country.

5) I request that this Court declare that denial of a Pipe and Drum Ceremony, once per
   week, violates my rights to practice my religion in accords with the dictates of the United
   States Constitution and all laws, Federal and State, of this country.

6) I request that this Court declare that denial of a Pow-Wow ceremony violates my rights to
   practice my religion in accords with the dictates of the United States Constitution and all
   laws, Federal and State, of this country.

7) I request that this Court declare that denial of access to or allowance for a spiritual guide
   to come in the facility to assist me in my practice violates my rights to practice my
   religion in accords with the dictates of the United States Constitution and all laws,
   Federal and State, of this country.

8) I request that this Court declare that denial of a proper area for the Native American
   religion violates my rights to practice my religion in accords with the dictates of the
   United States Constitution and all laws, Federal and State, of this country.

9) Declare that religious discrimination has occurred to the Native American religion that is
   not held applicable to the Muslim, Jewish, Catholic, or Christian faith, violating my
   rights to practice my religion in accords with the dictates of the United States
   Constitution and all laws, Federal and State, of this country.

10) Declare that Laura Howard, Secretary of KDADS, has a responsibility to ensure that my
    right to practice my religion not be violated.

11) Declare that Laura Howard has done nothing to prevent the abuse of my ability to
    practice my religion.

12) Declare that as the top administrator, Gabriel Rop, has a responsibility to ensure that my
    right to practice my religion not be violated.


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13) Declare that as the top administrator, Gabriel Rop, has done nothing to prevent the abuse
    of my ability to practice my religion.

14) To restore the proper practice of my sincerely held religious beliefs order that the
    Defendants provide the following, and enjoin them, from ever denying these items:

       a. On Monday thru Sunday there should be smudging allowed twice a day, morning
          and evening without fail.

       b. Feasts should be allowed no less than eight times per year. That include:

                i. During the winter solstice, summer solstice, fall equinox, spring equinox,
                   Pow-Wow, tribe get togethers and other necessary holidays.
               ii. The meals should be prepared by a practicing Native American in a
                   traditional Native American manner as my ancestors did over an open
                   flame.
              iii. The meal should include traditional Native American foods such as
                   Buffalo, corn pemmican, fry bread. This is not an all-inclusive list.

       c. Once per week the sweat lodge ceremony shall be permitted to be held. Including
          in this shall be:

                 i. A shovel and rake shall be provided without fail.
                ii. Firewood and rocks shall be provided.
              iii. Thirty-five to forty pieces of willow ten to fifteen feet long shall be
                    provided every year for building the sweat lodge.
               iv. A fire source shall be allowed to heat the rocks without fail.
                v. A source of water shall be allowed without fail. This shall include an
                    outdoor camp style shower.
               vi. A small earthen mound as a scared alter shall be allowed to be built
                    outside the sweat lodge in accords with Native American tradition.
              vii. The Sweat Lodge ceremony shall be no less than five hours in length,
                    from the time the fire has been started.
             viii. The Sweat Lodge ceremony shall not be limited to only those of Indian
                    ancestry. It shall be allowed for all who are practicing the Native
                    American way and have professed a desire, willingness, and following of
                    the Native American religion as a sincerely held belief.
               ix. Participants in the Sweat Lodge ceremony shall be allowed to wear only a
                    pair of shorts on the religious grounds while participating in the Sweat.
                x. Sweat Lodge ceremony shall be at a scheduled time that does not prevent
                    one from participating or at a time that is likely to be cancelled, shortened,
                    or ended early.


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         xi. If an emergency count is necessary during the Sweat Lodge ceremony, the
             following shall be followed: a. Supervising staff will inform the
             participants respectfully and without entering a sacred area to include:
                 1. The area between the fire and the lodge; {2) walking behind or on
                     the sides of the lodge; and {3) a blessed area.
                 2. If a round has been started the participants shall be allowed to
                     finish the round before being required to exit for a physical count.
                 3. Participants will be counted in the religious area and not be
                     required to return to their living unit or room.

  d. Once per week the Pipe and Drum ceremony shall be permitted to be held. This
     shall include:

          i.    The ability to use the sacred pipe without fail.
         ii.    The ability to have tobacco, without fail.
        iii.    The ability to use a lighter without fail.
        iv.     The facility shall provide outdoor space without fail.
         v.     To have a traditional Native American drum for the ceremony without fail.
        vi.     To use the traditional Native American drum for the ceremony without
                fail.
        vii.    The ceremony shall be no less than two hours.
       viii.    All tribe members be allowed to attend without fail.
         ix.    The pipe should be stored with other sacred objects such as but not limited
                to: ribbons, bones, sage, tobacco, sweet grass, Kinnikinnick and corn.
          x.    The pipe should never be handled by anyone that is not a Native
                American.

  e. A spiritual guide or Native American elder shall be allowed to participate or assist
     me, by coming to the facility, for the following:

           i.   Once per week if requested.
          ii.   Pow-Wow
        iii.    Feasts
         iv.    Pipe and drum ceremony
          v.    Smudging
         vi.    Sweat lodge ceremony
        vii.    Healing ceremony
       viii.    Passing ceremony

  f. A spiritual guide or Native American elder shall be allowed to bring with them
     sacred items such as:




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          i. Medicine bundle, sage, sweet grass, cedar, small drum, rattle, or other
             items that they deem necessary for the Native American religion, which
             should never be handled by anyone who is not Native American.
         ii. They should not be strip searched but can go thru the metal detector.
        iii. They should be allowed to come in with traditional Native American garb,
             such as clothing and Native American headdress.
        iv. A spiritual guide should be allowed to come in for sweat lodge
             ceremonies, feasts, healing or passing ceremonies.

  g. Pow-Wow (Multi-Tribal Spiritual Gathering) should be an annual event without
     fail under the following:

          i. All practicing Native Americans should be allowed to attend without fail.
         ii. Outside visitors should be allowed to attend such as Spiritual guides and
             family members who are on the approved visitor list.
        iii. Traditional Native American food such as but limited to corn pemmican,
             buffalo meat and fry bread shall be provided by the State or be allowed to
             be brought in by the visitors.
        iv. The Spiritual Guides shall be allowed to bring in sage, sweet grass, cedar,
             small drum, or other items that they deem necessary for the Native
             American religion.
         v. They should be allowed to come in with traditional Native American garb,
             such as clothing and Native American headdress.

  h. Healing and or passing ceremonies, should be conducted in a timely manner, with
     healing ceremonies being done as soon as an illness or hospitalization is learned
     of, and passing ceremonies being done within twenty four hours of the passing
     without fail. This shall include:

          i. The Sacred Pipe, tobacco, sage, sweet grass, cedar smudge bowl and
             feather fan shall be allowed without fail.
         ii. Time permitting Spiritual guides, shall be allowed to come in for the
             healing or passing ceremony.
        iii. Spiritual guides shall be allowed to bring in a medicine bundle, sage,
             sweet grass, cedar, small drum or any other Native American items that
             they deem necessary for the Native American religion.
        iv. If chosen to do so the mourner shall be permitted to cut their hair with the
             individual being allowed to hold the hair until the next pipe and drum
             ceremony where it shall be burned.

  i. The facility will provide an area for the Native American Religion so that I may
     practice my beliefs. This will include:


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                  i. Enough space to have a sweat lodge, small herb garden 3'X3', an area for a
                     fire pit, an area for preparation of the feasts, and an area big enough to
                     hold the Pow-Wow of other gathering of the tribes.
                 ii. The area will be blessed and made sacred through tradition Native
                     American Practices and when done:
                         1. The facility will ensure that no person through than a practicing
                              Native American enters the area.
                         2. All lawn care (mowing, ect.} will be done by a practicing Native
                              American; and
                         3. The Boundaries will be clearly marked with permanent signs
                              posted to ensure no accidental or mistaken violation occurs.
                         4. Four (4) small painted stones, colored yellow, black, red and white
                              shall be placed to mark the four directions, East, South, West and
                              North.

                 iii. The area shall be large enough to have a storage area for items that I may
                      not retain in my room. For example, rocks for the sweat lodge, firewood
                      for the fire pit and other necessary items. The storage area will include a
                      weather proofed small shed for the items to be stored that cannot be
                      exposed to the elements.

                 iv. The area will have a source of water and for sanitary purposes a camp sink
                     for feasts. There should be a bathroom within easy distance for toiletry
                     purposes.

                 v. The area should be screened to provide privacy during Sweat Lodge
                    ceremonies.

                 vi. The area will be designated and used only by practicing Native Americans
                     and not any other group or religion.

6.     AMENDMENTS TO PLEADINGS.

       None.

7.     DISCOVERY.

       Under the scheduling order and any amendments, all discovery was to have been completed

by May 31, 2023. Plaintiff moved to reopen discovery and the request was denied. Discovery is

complete.



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       Unopposed discovery may continue after the deadline to complete discovery so long as it

does not delay briefing or ruling on dispositive motions or other pretrial preparations. Although

discovery may be conducted beyond the deadline to complete discovery if all parties agree to do

so, under these circumstances the Court will not be available to resolve any disputes that arise

during the course of such extended discovery.

8.     MOTIONS.

       a.      Pending Motions.

               None.

       b.      Additional Pretrial Motions.

       After the pretrial conference, the parties intend to file the following motions:

               Defendants intend to file a Motion for Summary Judgment.

               Plaintiff intends to file a Motion for Summary Judgment.

       The dispositive-motion deadline, as established in the scheduling order and any

amendments, is September 1, 2023. The parties should follow the summary-judgment guidelines

on the Court’s website:

     http://ksd.uscourts.gov/wp-content/uploads/2015/10/Summary-Judgment-Guidelines.pdf

       Principal briefs in support of, or in response to, summary judgment motions must not

exceed 40 pages and replies must not exceed 15 pages. See D. KAN. RULE 7.1(d)(2). Any motion

to exceed these page limits or for an extension of briefing deadlines must be filed at least three

days before the brief’s filing deadline. See D. KAN. RULE 6.1(a), 7.1(d)(4).

       c.      Motions Regarding Expert Testimony. All motions to exclude the testimony of

expert witnesses pursuant to Fed. R. Evid. 702-705, Daubert v. Merrell Dow Pharmaceuticals,

Inc., 509 U.S. 579 (1993), Kumho Tire Co. v. Carmichael, 526 U.S. 137 (1999), or similar case

law, must be filed at least 60 days before trial.

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9.      TRIAL.

        The trial docket setting, as established in the scheduling order and any amendments, is

March 4, 2024, at 9:00 a.m., in Topeka, Kansas. This case will be tried by the Court sitting

without a jury. Trial is expected to take approximately 2-3 days. The Court will attempt to decide

any timely filed dispositive motions approximately 60 days before trial. If no dispositive motions

are timely filed, or if the case remains at issue after timely dispositive motions have been decided,

then the trial judge may enter an order or convene another pretrial conference to set deadlines for

filing final witness and exhibit disclosures, exchanging and marking trial exhibits, designating

deposition testimony for presentation at trial, motions in limine, proposed instructions in jury trials,

and proposed findings of fact and conclusions of law in bench trials.

10.     ALTERNATIVE DISPUTE RESOLUTION (ADR).

        The status of settlement negotiations is as follows: The parties currently believe the

prospects for settlement of this case are poor and they do not believe that further court-ordered

ADR would be helpful.

        The parties are reminded that, under D. Kan. Rule 40.3, they must immediately notify the

Court if they reach an agreement that resolves the litigation as to any or all parties. Jury costs may

be assessed under this rule if the parties do not provide notice of settlement to the Court’s jury

coordinator at least one full business day before the scheduled trial date.

        IT IS SO ORDERED.

        Dated July 27th, 2023, at Wichita, Kansas.

                                                /s KENNETH G. GALE
                                                Kenneth G. Gale
                                                U. S. Magistrate Judge




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